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Pro Se 1 (Rev. 12/16)Complaint for a Civil Case



                                       United States District Court
                                                                      for the

received                                                            District of


             "4 2019                                                    Divr ■


                                                                                 1:19-cv-07275
                                                                        )         Judge Martha M. Pacold
                                                                       )          Magistrate Judge Gabriel A. Puentes
                        Jacquetta L. Carr                              )
                             Plaintijf(s)                              )
(Write thefull name ofeach plaintiffwho isfiling this complaint
Ifthe names ofall the plaintiffs cannotfit in the space above,
                                                                       )         Jury Trial: (check one) fH Yes 1*1 No
please write "see attached" in the space and attach an additional      )
page with thefull list ofnames.)                                       )
                                 -V-
                                                                       )
                                                                       )
                                                                       )
                                                                       )
  CPS: William Hooks, Sheila Fowler, Cara Oshea,                       )
 CTU Adrienne Cervantes, EEO Mary Emesti of CPS                        )
                            Defendant(s)                               )
(Write thefull name ofeach defendant who is being sued. Ifthe          )
names ofall the defendants cannotfit in the space above, please
write "see attached"in the space and attach an additional page
with thefull list ofnames.)



                                                  COMPLAINT FOR A CIVIL CASE


I.         The Parties to This Complaint
           A.        The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.

                                Name                                Jacquetta L. Carr
                                Street Address                      9935 S. Princeton

                                City and County                     Chicago
                                State and Zip Code                  Illinois

                                Telephone Number                    779-210-7285

                                E-mail Address                      iecarcnterprises(@,yahoo.com




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          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (ifknown). Attach additional pages if needed.
                     Defendant No. 1

                                Name                        William Hooks

                                Job or Title (ifknown)      Principal - Chicago High School of Agricultural Sciences
                                Street Address

                                Citv and County             Chicago, Cook County
                                State and Zip Code          Illinois 60655

                                Telephone Number
                                E-mail Address (ifknown)


                      Defendant No. 2

                                 Name                       Sheila Fowler

                                 Job or Title (ifknown)     Asst. Principal - Chicago high School of Agricuiltural Sciences
                                 Street Address

                                 City and County            Chicago Cook County
                                 State and Zip Code         Illinois 60655

                                Telephone Number
                                E-mail Address (ifknown)


                      Defendant No. 3

                                 Name                       Cara Oshea

                                 Job or Title (ifknown)     Asst. Principal - Chicago High School of Agricultural Sciences
                                 Street Address

                                 City and County            Chicago Cook County
                                 State and Zip Code         Illinois 60655

                                 Telephone Number
                                 E-mail Address (ifknown)


                      Defendant No. 4

                                 Name                       Adrienne Cervantes

                                 Job or Title (ifknown)     Chicago Teacher's Union
                                 Street Address

                                 City and County            Chicago, Cook
                                 State and Zip Code         Illinois

                                 Telephone Number



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                                E-mail Address (ifknown)


II.       Basis for Jurisdiction


          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28U.S.C. §1331,a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          Wliat is the basis for federal court jurisdiction? (check all that apply)
                 1^ Federal question                         I I Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




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                       Discrimation
                       . Title VII of the Civil Rights Act.
                       RELATED PRODUCTS
                       MORE


                       The Employer's Legal Handbook

                       The Essential Guide to Family & Medical Leave

                       Your Rights in the Workplace

                       Title VII of the Civil Rights Act of 1964(42 U.S.C. 2000e and following) prohibits employers from
                       discriminating against applicants and employees on the basis of race, color, religion, sex, and national
                       origin (including membership in a Native American tribe). It also prohibits employers from retaliating
                       against an applicant or employee who asserts his or her rights under the law. To learn more about
                       retaliation, see our article on preventing retaliation claims by employees.


                       Title VII prohibits discrimination in all terms, conditions, and privileges of employment, including
                       hiring, firing, compensation, benefits,job assignments, promotions, and discipline. Title VII also
                       prohibits practices that seem neutral but have a disproportionate impact on a protected group of people.
                       Such a practice is legal only if the employer has a valid reason for using it. For example, a strength
                       requirement might be legal—even though it excludes disproportionate numbers of women—if an
                       employer is using it to fill a job that requires heavy lifting. Such a requirement would not be valid for a
                       desk job, however.
                       Title VII makes it illegal to harass someone on the basis of a protected characteristic (race, sex, and so
                       on). For information on sexual harassment and tips on preventing it, see our article on preventing
                       sexual harassment in the workplace.
                       Title VII applies to employers that fit into the following categories;
                       •       private employers with at least 15 employees
                       •       state governments and their political subdivisions and agencies
                       •       the federal government
                       •       employment agencies
                       •       labor organizations, and
                       •       joint labor-management committees and other training programs.
           B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                      1.         The Plaintiff(s)

                                 a.         If the plaintiff is an individual
                                            The plaintiff, (name) Jacquetta L. Can-                           , is a citizen ofthe
                                            State of(name) Illinois


                                 b.         If the plaintiff is a corporation
                                            The plaintiff, (name) NA                                          , is incorporated
                                            under the laws ofthe State of(name)     NA

                                            and has its principal place of business in the State of(name)


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                                (Ifmore than one plaintiffis named in the complaint, attach an additional page providing the
                                same informationfor each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual

                                           The defendant, (name)      William Hooks                            ,is a citizen of
                                           the State of(name)      Illinois                                . Or is a citizen of

                                            (foreign nation)



                                b.         If the defendant is a corporation
                                           The defendant, (name)      Sheila Fowler                        , is incorporated under
                                           the laws of the State of(name)      Illinois                              ,and has its
                                            principal place of business in the State of(name)   Illinois
                                            Or is incorporated under the laws of(foreign nation)
                                           and has its principal place of business in (name)


                                (Ifmore than one defendant is named in the complaint, attach an additional page providing the
                                same informationfor each additional defendant.)

                      3.        The Amount in Controversy

                                The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
                                stake-is more than $75,000, not counting interest and costs of court, because (explain):




III.       Statement of Claim


           Write a short and plain statement ofthe claim. Do not make legal arguments. State as briefly as possible the
           facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
           involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
           the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
           write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.




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          Defendants engaged in discrimination based on age, race and freedom of speech as allowed by CPS textbook
          resources. Defendants encouraged and solicited documents to be used to force resignation of plaintiff.
          Defendant targeted plaintiff based on age and race for termination prior to start of school year and at beginning
          of school year by creating scenarios and documents necessary to support such termination. Defendant attacked
          Plaintiffs educational methodology and threated plaintiff through harassment and in writing regarding teaching a
          lesson within the context of subject matter contained in CPS authorized textbooks. Defendants created an
          unbarable working environment while plaintiffs spouse was ill to force resignation and failed to disclose their
          intents to terminate or to warn plaintiff of actions to terminate. Defendants did not provide proper guidance,
          resources, materials or warnings concerning the job responsibilities as music teacher so justify measures to
          terminate. Defendents did not provide proper due process, warnings, remediation, training and support for
          required job duties and responsibilities to cause Plaintiff to resign by Constructive Discharge.

IV.        Relief


           State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
           arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
           the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
           punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
           punitive money damages.
            Plaintiff was subjected to the loss of over 75,000 dollors which include lost wages, reputation, emotional and
           mental duress and future employment opportunities.




V.         Certification and Closing

           Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
           and belief that this complaint:(1) is not being presented for an improper purpose, such as to harass, cause
           unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
           nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
           evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
           opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
           requirements of Rule 11.

           A.         For Parties Without an Attorney

                      I agree to provide the Clerk’s Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
                      in the dismissal of my case.


                      Date of signing:               11/02/2019



                      Signature of Plaintiff
                      Printed Name of Plaintiff        acquetMlL. Carr




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Item A




Spouse: Michael L Snoddy


Income:


  Though spouse had income. This income was impacted by multiple illnesses, hospital trips, and stays,
surgery and costly prescriptions costs. The forcing of loss of job placed my entire household in financial
duress. Temporary - Short term employment opportunities were the only form of work I could obtain
which provided meager financial support during a tumultuous time. I was faced with residency issues
which impacted income because my spouse and family member who was providing residency help was
sick and passed at the same time that Defendants forced me out of my job.
